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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


JENNIFER SMITH,

       Plaintiff,

vs.                                            Case No. 4:24cv367-MW-MAF

FLORIDA AGRICULTURAL &
MECHANICAL UNIVERSITY
BOARD OF TRUSTEES,
ALLYSON WATSON, DENISE
WALLACE, LATONYA BAKER,
LATRECHA SCOTT, RICA
CALHOUN, GRAY ROBINSON, P.A.,
JULIE ZOLTY, RICHARD E.
MITCHELL, and SARAH REINER,

     Defendants.
______________________________/


                                  ORDER

       On September 11, 2024, the United States District Court for the

Middle District of Florida transferred case number 6:24cv457-PGB-RMN to

this Court. The parties shall note the new case number as shown above

which must be reflected on all documents submitted for filing in this case.

       This Order is entered to guide the proceedings going forward and

clarify the status of this litigation. The case was initiated in the Middle
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District on March 4, 2024, ECF No. 1, having been removed from state

court. It appears that the operative pleading is Plaintiff’s Corrected Second

Amended Complaint [“complaint”], ECF No. 151, filed on August 18, 2024.

Plaintiff’s complaint raises 9 claims in 10 counts against the Defendants.

      Plaintiff proceeds pro se, but she is an attorney, licensed in the State

of Florida. See ECF No. 151 at 66. At this point, the docket does not

include the Plaintiff’s contact information. The Clerk of Court must

immediately add that information to the docket.

      Defendant Florida Agricultural & Mechanical University Board of

Trustees (“FAMU”) filed a motion for more definite statement, ECF No. 160,

and a motion to transfer venue, ECF No. 161. The motion to transfer

venue was granted, ECF No. 178, the motion for a more definite statement,

ECF No. 161, was not addressed.

      FAMU argues that Plaintiff’s complaint is a shotgun pleading which

contains irrelevant material and does not comply with the Federal Rules of

Civil Procedure. ECF No. 160. Plaintiff contends the motion is nothing

more than Defendant’s “latest attempt to avoid having to respond to the

allegations against it.” ECF No. 168.



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      Plaintiff’s complaint is 66 pages in length. ECF No. 151. It contains

a 2-page “Introduction” with footnotes citing to published articles. Such

information may be helpful for a law review article, but it is unnecessary for

a pleading. Defendants should not have to respond to those pages which

are, notably, not presented in numbered paragraphs.1 To the extent

Plaintiff includes relevant facts within the Introduction, they should be within

short, separately numbered paragraphs as required by Rule 10.

      To be sure, Plaintiff did include numbered paragraphs - 227 of them.

There are numerous immaterial and nonessential facts which serve only to

unnecessarily lengthen the complaint. A 66-page complaint with 227

paragraphs is not a “short and plain statement” as required by Rule 8(a).

See Magluta v. Samples, 256 F.3d 1282, 1284 (11th Cir. 2001) (finding a

58-page complaint, comprised of 146 numbered paragraphs, with

allegations that incorporate by reference the proceeding allegations, to be

a “quintessential ‘shotgun’ pleading”). While Magluta’s complaint was


      1
        Plaintiff argued that an introduction is not barred and was upheld as permissible
in Weiland v. Palm Beach Cnty. Sheriff's Off., 792 F.3d 1313, 1318 (11th Cir. 2015).
ECF No. 168 at 6-7. The distinction is that in Weiland, only one paragraph was “an
introductory statement.” Because the facts supporting Plaintiff’s claims are all that are
necessary, an introduction is unnecessary. The Court nor Defendants need “context,”
they need facts. Defendants should not have to respond to unnecessary statements
which do not pertain to the facts of Plaintiff’s case.

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described as containing “rambling irrelevancies,” Plaintiff’s is comprised of

overly-detailed narratives. It is not a “short and plain statement of the

claim” as required by Rule 8 of the Federal Rules of Civil Procedure.

      Plaintiff’s complaint asserts Counts I through X, and for each count,

Plaintiff begins with a statement that she “realleges all relevant paragraphs

including but not limited to” certain paragraphs. ECF No. 151 at 44-61. A

statement that the allegations “includes” certain paragraphs but is not

limited to them is far from clear. The Eleventh Circuit has long condemned

such pleadings as impermissible “shotgun pleadings,” with the “most

common type” described as “a complaint containing multiple counts where

each count adopts the allegations of all preceding counts, causing each

successive count to carry all that came before and the last count to be a

combination of the entire complaint.” Weiland v. Palm Beach Cnty.

Sheriff's Off., 792 F.3d 1313, 1321 (11th Cir. 2015). Plaintiff argues that

her complaint “does not indiscriminately incorporate all preceding

paragraphs,” ECF No. 168 at 5, but it does do so because the reader has

no idea what is actually excluded or limited.




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      Furthermore, the paragraphs listed by Plaintiff to support the claims

are numerous and onerous. For example, Count II relies upon paragraphs

1-27, 38-149. Excluding all but 10 paragraphs is hardly limiting.

      In addition, both Counts II and IV are retaliation claims against

Defendant FAMU. Id. at 45, 49. The claims are redundant. Count V is not

a claim at all; it is a request for preliminary and permanent injunctive relief.

Id. at 50. Plaintiff also asserts two overlapping conspiracy claims against

the “Gray Defendants.” Id. at 53-58. Those Defendants are the law firm,

Gray Robinson, P.A., and three attorneys (Mitchell, Zolty, and Reiner)

employed by the firm. Id. at 6. These claims also appear to be redundant.

Plaintiff should be required to file an amended complaint to eliminate

unnecessary and redundant claims, as well as to shorten and simplify the

pleading.

      It is by now well established that Rule 8(a)(2) requires only “a short

and plain statement of the claim showing that the pleader is entitled to

relief,” so that a defendant has “fair notice of what the ... claim is and the

grounds upon which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555, 127 S. Ct. 1955, 1964, 167 L. Ed. 2d 929 (2007). The Supreme Court

has made clear that a pleading does not need “detailed factual allegations”

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to do so, but it does need more than “labels and conclusions” or “a

formulaic recitation of the elements of a cause of action.” Ashcroft v. Iqbal,

556 U.S. 662, 678, 129 S. Ct. 1937, 1949, 173 L. Ed. 2d 868 (2009).

Plaintiff’s complaint is deficient because it “is neither short nor plain.”

Osahar v. U.S. Postal Serv., 297 F. App’x 863, 864 (11th Cir. 2008)

(holding that 62-page document was “a quintessential ‘shotgun’ pleading

replete with factual allegations and rambling legal conclusions”).

      The Local Rules of this Court require a complaint to “not exceed 25

pages, unless the Court authorizes it.” N.D. Fla. Loc. R. 5.7(B). Brevity is

far more beneficial than lengthy narratives; nevertheless, Plaintiff is

authorized to exceed the page limit by no more than 5 pages. Plaintiff shall

have until October 1, 2024, to file a clearly titled “third amended complaint”

which shall be no longer than 30 pages, which shall not include an

introduction, and must comply with Federal Rule of Civil Procedure 8(a) - a

short and plain statement of the facts. Furthermore, the only attachment2

which should properly be included with a complaint is proof that Plaintiff

exhausted administrative remedies concerning her Title VII claim.

      2
        Plaintiff’s complaint included 21 exhibits with her complaint, including
handbooks, emails, partial deposition transcripts, etc. Those are not necessary and
should not be included.

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Pursuant to Rule 10, a “A copy of a written instrument that is an exhibit to a

pleading is a part of the pleading for all purposes.” The complaint should

not be unnecessarily lengthened by the submission of unnecessary

exhibits.

      Plaintiff has also filed a “time-sensitive motion to stay” this case

pending a ruling by the Eleventh Circuit Court of Appeals on her notice of

appeal. ECF No. 176. The Middle District of Florida denied Plaintiff’s third

motion for a preliminary injunction, ECF No. 86, on August 30, 2024. ECF

No. 164. Plaintiff filed a notice of appeal of that decision on September 3,

2024. ECF No. 165. “A district court order granting or denying a

preliminary injunction is immediately appealable.” Daker v. Ward, No.

19-14295, 2024 WL 3042539, at *2 (11th Cir. June 18, 2024) (citing 28

U.S.C. § 1292(a)(1)). “When a party brings an interlocutory appeal, the

district court retains jurisdiction to proceed with the portions of the case not

related to the appeal.” Johnson v. 3M Co., 55 F.4th 1304, 1309 (11th Cir.

2022) (cited in Daker, 2024 WL 3042539, at *2). To be clear, requiring

Plaintiff to file a third amended complaint would not “alter[ ] the status of the

case” as it does not involve an issue to be decided on Plaintiff’s

interlocutory appeal. Plaintiff’s appeal concerns only the decision to deny

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her request for preliminary injunctive relief3 and that order did not address

the merits of Plaintiff’s claims. ECF No. 164. For that reason, it is

concluded that this Court retains jurisdiction to direct Plaintiff to file the third

amended complaint. Green Leaf Nursery v. E.I. DuPont De Nemours &

Co., 341 F.3d 1292, 1309 (11th Cir. 2003) (holding that if because the

proposed amendment would alter the status of the case, the district court

“was without jurisdiction to grant Plaintiffs’ leave to file an amended

complaint”). Defendant FAMU has not yet filed a response to Plaintiff’s

motion to stay this case. ECF No. 176. It has until September 25, 2024,

to do so.

       The docket reveals that summonses were issued for the individual

Defendants and Gray Robinson, P.A., on July 16, 2024. ECF Nos. 100-

107, 110.4 The docket does not indicate that any of those Defendants have

been served with process. Plaintiff has until October 15, 2024, to

demonstrate that service has been carried out or otherwise clarify the

status of service on all Defendants other than FAMU.


       3
        Plaintiff seeks to be reinstated to her “tenured position as a Full Professor - until
the merits of this case are decided.” ECF No. 86 at 1.
       4
        Summons were requested after Plaintiff submitted an amended complaint, ECF
No. 84, on July 9, 2024.

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      A Case Management and Scheduling Order was entered on April 15,

2024. ECF No. 45. It appears that discovery is scheduled to conclude on

November 4, 2024, but it also appears that in light of Plaintiff’s efforts to

add multiple claims and Defendants,5 that the pre-trial deadlines should be

adjusted. The parties are required to file a brief response which outlines

the discovery left to be conducted, and the estimated time that discovery

will take. Responses shall be filed by October 4, 2024.

      As a result of the transfer, it is not entirely clear which documents

remain pending. The Court is not inclined to read every order previously

entered or conduct a detailed analysis of all documents filed to determine

whether any motions remain pending. The parties must advise the Court

by October 4, 2024, whether any motion is ripe for ruling and requires the

Court’s attention.

      Accordingly, it is

      ORDERED:

      1. The Clerk of Court shall include Plaintiff’s contact information on

the docket. See ECF No. 151 at 66.


      5
         Plaintiff’s state court complaint was brought only against Defendant FAMU and
raised five claims. ECF No. 1-1.

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      2. The parties have until October 4, 2024, to respond to this Order

and point to a specific motion which remains pending at the time of

transfer, and to outline their discovery needs and estimations of the time

necessary to complete discovery.

      3. Defendant FAMU should file a response to Plaintiff’s motion to

stay this case, ECF No. 176, if they oppose the motion, no later than

September 25, 2024.

      4. The motion for a more definite statement, ECF No. 160, is

GRANTED.

      5. Plaintiff has until October 1, 2024, to file a “third amended

complaint” which shall be no longer than 30 pages, in compliance with

Federal Rule of Civil Procedure 8 and this Order.

      6. The Clerk of Court shall return this file upon receipt of Plaintiff’s

third amended complaint or no later than October 4, 2024.

      DONE AND ORDERED on September 17, 2024.



                                   S/ Martin A. Fitzpatrick
                                   MARTIN A. FITZPATRICK
                                   UNITED STATES MAGISTRATE JUDGE



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